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                                                    FILED: December 2, 2020


                 UNITED STATES COURT OF APPEALS
                     FOR THE FOURTH CIRCUIT

                            ___________________

                                No. 20-6821 (L)
                            (2:03-cr-00197-RAJ-6)
                            ___________________

UNITED STATES OF AMERICA

           Plaintiff - Appellant

v.

THOMAS F. MCCOY

           Defendant - Appellee

                            ___________________

                                 No. 20-6869
                            (1:95-cr-00202-CCB-3)
                            ___________________

UNITED STATES OF AMERICA

           Plaintiff - Appellant

v.

KEITH E. BRYANT

           Defendant - Appellee

                            ___________________
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                                    No. 20-6875
                               (1:95-cr-00202-CCB-2)
                               ___________________

UNITED STATES OF AMERICA

              Plaintiff - Appellant

v.

CRAIG LAMONT SCOTT

              Defendant - Appellee

                               ___________________

                                    No. 20-6877
                               (1:95-cr-00202-CCB-1)
                               ___________________

UNITED STATES OF AMERICA

              Plaintiff - Appellant

v.

KITTRELL BERNARD DECATOR

              Defendant - Appellee

                               ___________________

                                 JUDGMENT
                               ___________________

      In accordance with the decision of this court, the judgment of the district

court is affirmed.

      This judgment shall take effect upon issuance of this court's mandate in
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accordance with Fed. R. App. P. 41.

                                      /s/ PATRICIA S. CONNOR, CLERK
